Case 1:24-cv-01105-KES-SAB   Document 52-2   Filed 11/07/24   Page 1 of 15




                      Exhibit 2
     Case 1:24-cv-01105-KES-SAB           Document 52-2   Filed 11/07/24   Page 2 of 15

 1    JOHN D. FREED (State Bar No. 261518)
      jakefreed@dwt.com
 2    MATTHEW E. LADEW (State Bar No. 318215)
      mattladew@dwt.com
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      markanishchenko@dwt.com
 4
      DAVIS WRIGHT TREMAINE LLP
 5    50 California Street, 23rd Floor
      San Francisco, California 94111
 6    Telephone: (415) 276-6500
      Fax: (415) 276-6599
 7
      JOSEPH VANLEUVEN (admitted pro hac vice)
 8    joevanleuven@dwt.com
      DAVIS WRIGHT TREMAINE LLP
 9    560 SW 10th Avenue, Suite 700
10    Portland, Oregon 97205
      Telephone: (503) 778- 325
11
      Attorneys for Plaintiff
12    U.S. BANK NATIONAL ASSOCIATION

13                           UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
14
      U.S. BANK NATIONAL ASSOCIATION,                  Case No. 1:24-cv-01105-KES-SAB
15
                             Plaintiff,     AFFIDAVIT OF JOSEPH R. DUNN IN
16                                          SUPPORT OF JOINT EX PARTE
             vs.                            APPLICATION OF PLAINTIFF U.S.
17                                          BANK NATIONAL ASSOCIATION AND
      TOUCHSTONE PISTACHIO COMPANY, LLC; RECEIVER DAVID STAPLETON FOR
      FARSHID ASSEMI; FARID ASSEMI; DARIUS FURTHER ORDER REGARDING
18    ASSEMI; NEEMA ASSEMI; MELISSA         RECEIVER’S AUTHORITY TO ENGAGE
      LAYNE; SONIA ROSEMARY ASSEMI;         AND COMPENSATE RECEIVER’S
19    MARICOPA ORCHARDS, LLC; C&A FARMS, COUNSEL
      LLC; ACDF, LLC; CANTUA ORCHARDS,
20    LLC; LINCOLN GRANTOR FARMS, LLC;
      PANOCHE PISTACHIOS, LLC; ADAMS        Action Filed: September 17, 2024
21    GRANTOR LAND, LLC; GRANVILLE
      FARMS, LLC; SAGEBERRY FARMS, LLC;
22    GRADON FARMS, LLC; MANNING AVENUE
      PISTACHIOS, LLC; ASSEMI AND SONS,
23    INC.; WINSTON FARMS, LLC; FFGT FARMS,
      LLC; FAVIER RANCH, LLC; GRANTLAND
24    FARMS, LLC; WHITESBRIDGE FARMS, LLC;
      ACAP FARMS, LLC; BEAR FLAG FARMS,
25    LLC; COPPER AVENUE INVESTMENTS,
      LLC; WILLOW AVENUE INVESTMENTS,
26    LLC; ASHLAN & HAYES INVESTMENTS,
      LLC; ASSEMI BROTHERS, LLC,
27
                             Defendants.
28
                                                   1
      AFFIDAVIT OF JOSEPH R. DUNN IN SUPPORT OF JOINT EX PARTE APPLICATION OF PLAINTIFF U.S.
      BANK NATIONAL ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER
      REGARDING RECEIVER’S AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB           Document 52-2         Filed 11/07/24      Page 3 of 15

 1

 2           I, Joseph R. Dunn, declare as follows:

 3           1.      I am an attorney duly admitted and in good standing to practice law in the State of

 4    California and before this Court. I am a partner of Covington & Burling LLP (“Proposed

 5    Counsel”), proposed counsel for Receiver David P. Stapleton (“Receiver”) in this case. I make

 6    this declaration (the “Affidavit”) in support of the Joint Ex Parte Application of Plaintiff U.S.

 7    Bank National Association and Receiver David Stapleton for Further Order Regarding Receiver’s

 8    Authority to Engage and Compensate Receiver’s Counsel filed concurrently herewith (the

 9    “Application”). Capitalized terms not defined herein shall have the meaning set forth in the

10    Application and Memorandum of Points and Authorities in support thereof.

11           2.      On September 28, 2024, the Court executed an order (the “Receivership Order”)

12    appointing David Stapleton as a general receiver in the above-captioned matter. [Dkt. 32]

13           3.      Shortly after the Court entered the Receivership Order, the Receiver sought to

14    employ Proposed Counsel to serve as Receiver’s Counsel (as defined in the Receivership Order)

15    in this matter. However, I informed the Receiver that the standard hourly billing rates for the

16    attorneys at my firm exceed the $600.00 per hour rate cap set forth in paragraph 33 of the

17    Receivership Order (the “Rate Cap”). For instance, my standard hourly rate is approximately two

18    and a half times higher than the $600 per hour Rate Cap set forth in the Receivership Order.

19           4.      Nonetheless, to accommodate the Receiver’s request and assist in this matter, my

20    firm agreed to provide services to the Receiver at a discounted flat rate of $975 per hour if

21    Plaintiff and Touchstone both agreed to such arrangement notwithstanding the existing Rate Cap.

22           5.      On October 1, 2024, I spoke by telephone with counsel for Plaintiff and counsel

23    for Touchstone regarding a proposed modification of the Rate Cap to allow the Receiver to

24    engage and compensate my firm at the $975 per hour capped flat rate.

25           6.      On October 2, 2024, Touchstone’s counsel confirmed to me by telephone that its

26    client was agreeable to the requested modification of the Rate Cap.

27           7.      On October 9, 2024, Plaintiff’s counsel confirmed by email to me that Plaintiff was

28    agreeable to the requested modification of the Rate Cap.
                                                        2
      AFFIDAVIT OF JOSEPH R. DUNN IN SUPPORT OF JOINT EX PARTE APPLICATION OF PLAINTIFF U.S.
      BANK NATIONAL ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER
      REGARDING RECEIVER’S AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB            Document 52-2       Filed 11/07/24     Page 4 of 15

 1           8.      Based on the Parties’ verbal agreements, my firm began performing services for

 2    the Receiver and prepared a stipulation and proposed order to modify the Rate Cap accordingly.

 3           9.      Plaintiff’s counsel agreed to the stipulation and proposed order on October 16,

 4    2024 and sent the same to Touchstone’s counsel for review on October 18, 2024.

 5           10.     For several weeks thereafter, Plaintiff’s counsel and I attempted to obtain

 6    Touchstone’s counsel’s approval on the proposed stipulation and order. See email chains attached

 7    hereto as Exhibits A and Exhibit B.

 8           11.     Touchstone provided no objection to or comment on the proposed stipulation or

 9    order, but did not provide Touchstone’s consent, notwithstanding Touchstone’s prior verbal

10    agreement to the same. Instead, on October 31, 2024, Touchstone’s counsel informed me that

11    Touchstone was not in a position to enter into the stipulation. That same day I informed

12    Touchstone’s counsel by phone that the Receiver would be bringing an application seeking the

13    relief set forth in the stipulation. Touchstone’s counsel confirmed to me that Touchstone “takes

14    no position” with respect to such relief. On November 6, 2024, I advised Touchstone’s counsel

15    via email that the ex parte Application would be filed the following day. On information and

16    belief, no objection to the Application will be filed.

17           12.     On November 7, 2024, my office advised the courtroom deputy that the Moving

18    Parties would be filing the Application and seeking ex parte relief.

19           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

20    United States of America that the foregoing is true and correct and that this Affidavit was

21    executed on this 7th day of November, 2024 at 1999 Avenue of the Stars, Los Angeles, California

22    90067-4643.

23

24                                                   Joseph R. Dunn
25

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                                                         3
      AFFIDAVIT OF JOSEPH R. DUNN IN SUPPORT OF JOINT EX PARTE APPLICATION OF PLAINTIFF U.S.
      BANK NATIONAL ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER
      REGARDING RECEIVER’S AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB   Document 52-2     Filed 11/07/24   Page 5 of 15

 1                                      Exhibit A

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  Case 1:24-cv-01105-KES-SAB                            Document 52-2                Filed 11/07/24              Page 6 of 15

From:                   Hurst, David
To:                     Dunn, Joseph
Cc:                     VanLeuven, Joe; Freed, Jake; Anishchenko, Mark; Nadel, Michael
Subject:                RE: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC et al. - Stipulation
                        and Proposed Order to Amend Order Appointing Receiver
Date:                   Friday, October 25, 2024 1:45:18 PM
Attachments:            image001.png


[EXTERNAL]
Joe—

I understand (and am trying), but I am not having any luck with the client moving this forward given
everything else that is going on. I will continue to work on it, but I don’t see any way this is going to
get resolved today.

Best,

David

DAVID HURST
Partner
McDermott Will & Emery LLP  The Brandywine Building, 1000 N. West Street, Suite 1400, Wilmington, DE 19801
Tel +1 302 485 3930 | Mobile +1 302 824 3454 | Fax +1 302 691 4573 | Email dhurst@mwe.com
Website | vCard | LinkedIn




From: Dunn, Joseph <JDunn@cov.com>
Sent: Friday, October 25, 2024 4:40 PM
To: Hurst, David <Dhurst@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>; Freed, Jake <JakeFreed@dwt.com>; Anishchenko,
Mark <MarkAnishchenko@dwt.com>; Nadel, Michael <mnadel@mwe.com>
Subject: RE: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC
et al. - Stipulation and Proposed Order to Amend Order Appointing Receiver

[ External Email ]
Hi David,

Sorry to pester, but I need to push on the stipulation to modify the receivership order. Can we get
that tackled today? How can I help? I know you and your clients are juggling many issues, but the
Touchstone Receiver needs counsel ASAP to deal with a number of mounting issues, and the holdup
on the order is problematic. Happy to discuss at your convenience if necessary.

Joe


Joseph Dunn
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Covington & Burling LLP
1999 Avenue of the Stars
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From: Freed, Jake <JakeFreed@dwt.com>
Sent: Wednesday, October 23, 2024 7:57 AM
To: Hurst, David <Dhurst@mwe.com>; Anishchenko, Mark <MarkAnishchenko@dwt.com>; Nadel,
Michael <mnadel@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>; Dunn, Joseph <JDunn@cov.com>
Subject: RE: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC
et al. - Stipulation and Proposed Order to Amend Order Appointing Receiver

[EXTERNAL]
Thank you, David. I’ve copied the receiver’s counsel, Joe Dunn, on this email. He can answer
any questions you might have for him if it would speed things along.

Jake




Jake Freed   
Davis Wright Tremaine LLP
P 415.276.6532 E jakefreed@dwt.com
A 50 California Street, 23rd Floor, San Francisco, CA 94111
DWT.COM


From: Hurst, David <Dhurst@mwe.com>
Sent: Wednesday, October 23, 2024 5:16 AM
To: Freed, Jake <JakeFreed@dwt.com>; Anishchenko, Mark <MarkAnishchenko@dwt.com>; Nadel,
Michael <mnadel@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>
Subject: RE: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC
et al. - Stipulation and Proposed Order to Amend Order Appointing Receiver

[EXTERNAL]

Jake—

I know you guys are waiting on this. My clients are getting pulled in a number of directions and
nothing is moving quickly.
  Case 1:24-cv-01105-KES-SAB                  Document 52-2       Filed 11/07/24        Page 8 of 15


Best,

David

DAVID HURST
Partner
McDermott Will & Emery LLP  The Brandywine Building, 1000 N. West Street, Suite 1400, Wilmington, DE 19801
Tel +1 302 485 3930 | Mobile +1 302 824 3454 | Fax +1 302 691 4573 | Email dhurst@mwe.com
Website | vCard | LinkedIn




From: Freed, Jake <JakeFreed@dwt.com>
Sent: Tuesday, October 22, 2024 8:30 PM
To: Anishchenko, Mark <MarkAnishchenko@dwt.com>; Hurst, David <Dhurst@mwe.com>; Nadel,
Michael <mnadel@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>
Subject: RE: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC
et al. - Stipulation and Proposed Order to Amend Order Appointing Receiver

[ External Email ]
David-

Just following up on Mark’s email here. We’re getting a lot of pressure from receiver’s counsel
to get this stipulation done so he can start doing his work and make an appearance. Will you
let us know as soon as possible about the stipulation? Thanks for your attention to this.

Jake




Jake Freed   
Davis Wright Tremaine LLP
P 415.276.6532 E jakefreed@dwt.com
A 50 California Street, 23rd Floor, San Francisco, CA 94111
DWT.COM


From: Anishchenko, Mark <MarkAnishchenko@dwt.com>
Sent: Tuesday, October 22, 2024 12:57 PM
To: Anishchenko, Mark <MarkAnishchenko@dwt.com>; Hurst, David <Dhurst@mwe.com>; Nadel,
Michael <mnadel@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>; Freed, Jake <JakeFreed@dwt.com>
Subject: RE: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC
et al. - Stipulation and Proposed Order to Amend Order Appointing Receiver
      Case 1:24-cv-01105-KES-SAB                    Document 52-2            Filed 11/07/24          Page 9 of 15


    Hi David,

    I am following up on your review of the below proposed stipulated and order. We want to make
    sure this gets approved ASAP so that the receiver’s counsel can adequately represent the receiver.

    Please let us know if you have any questions or comments.

    Thank you,

    Mark Anishchenko   He/Him/His
    Associate, Davis Wright Tremaine LLP
    P 916.885.1824 E markanishchenko@dwt.com
    A 621 Capitol Mall, Suite 1950, Sacramento, CA 95814
    DWT.COM


From: Anishchenko, Mark <MarkAnishchenko@dwt.com>
Sent: Friday, October 18, 2024 3:47 PM
To: Hurst, David <Dhurst@mwe.com>; Nadel, Michael <mnadel@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>; Freed, Jake <JakeFreed@dwt.com>
Subject: Case 1:24-00737 U.S. Bank National Association v. Touchstone Pistachio Company, LLC et al.
- Stipulation and Proposed Order to Amend Order Appointing Receiver

﻿
David,

Please find attached a draft stipulation and proposed order to amend order appointing receiver for
your review and comment.

Thank you,

                 Mark Anishchenko    He/Him/His
                 Associate | Davis Wright Tremaine LLP
                 P 916.885.1824 E markanishchenko@dwt.com
                 A 621 Capitol Mall, Suite 1950, Sacramento, CA 95814

                 DWT.COM




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 1                                       Exhibit B

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 Case 1:24-cv-01105-KES-SAB                         Document 52-2   Filed 11/07/24     Page 12 of 15

From:                   Hurst, David
To:                     VanLeuven, Joe; Dunn, Joseph
Cc:                     Nadel, Michael
Subject:                RE: Receiver"s counsel fees
Date:                   Wednesday, October 30, 2024 5:23:58 PM
Attachments:            image001.png
                        image002.png
                        image003.png
                        image004.png


[EXTERNAL]
This has not been resolved, so I understand if you need to proceed by motion. I can give you more
detail if you want to discuss tomorrow.

Best,

David

DAVID HURST
Partner
McDermott Will & Emery LLP  The Brandywine Building, 1000 N. West Street, Suite 1400, Wilmington, DE 19801
Tel +1 302 485 3930 | Mobile +1 302 824 3454 | Fax +1 302 691 4573 | Email dhurst@mwe.com
Website | vCard | LinkedIn




From: VanLeuven, Joe <joevanleuven@DWT.COM>
Sent: Wednesday, October 30, 2024 5:52 PM
To: Dunn, Joseph <JDunn@cov.com>; Hurst, David <Dhurst@mwe.com>
Cc: Nadel, Michael <mnadel@mwe.com>
Subject: RE: Receiver's counsel fees

[ External Email ]
Has this been agreed to? Not fair to Joe D to continue w/o getting this
resolved.

Joseph VanLeuven   He/Him/His
Partner, Davis Wright Tremaine LLP
P 503.778.5325 C 503.701.0023 E joevanleuven@dwt.com
A 560 SW 10th Avenue, Suite 700, Portland, OR 97205
DWT.COM



From: Dunn, Joseph <JDunn@cov.com>
Sent: Tuesday, October 29, 2024 9:15 PM
To: Hurst, David <Dhurst@mwe.com>
Cc: VanLeuven, Joe <joevanleuven@DWT.COM>; Nadel, Michael <mnadel@mwe.com>
Subject: RE: Receiver's counsel fees
 Case 1:24-cv-01105-KES-SAB                         Document 52-2              Filed 11/07/24            Page 13 of 15


Hi David,

When you and I spoke on October 2nd, you confirmed your clients agreed to the modified $975
hourly rate cap for my firm, and my firm has been performing some work in reliance on that
confirmation. The stipulation simply memorializes that agreement. I know you and your clients
have been focused on the hearings and related issues in recent days, but it should only take a matter
of minutes to confirm the stipulation we already drafted in fact says what your clients had agreed
to. If we cannot get signoff by COB tomorrow, we will have to go into the Court on an expedited
basis to ensure the Receiver (and my firm) is not prejudiced by further delay. I’m sure you
understand.

Thanks,

Joe


Joseph Dunn

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T +1 424 332 4825 | jdunn@cov.com
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From: VanLeuven, Joe <joevanleuven@DWT.COM>
Sent: Tuesday, October 29, 2024 1:42 PM
To: Hurst, David <Dhurst@mwe.com>; Nadel, Michael <mnadel@mwe.com>
Cc: Dunn, Joseph <JDunn@cov.com>
Subject: RE: Receiver's counsel fees

[EXTERNAL]

All we need is for you to ask Darius for permission, Dave. We can put the
stip together. Joe’s rate will still be below yours I’m betting.

Joseph VanLeuven   He/Him/His
Partner, Davis Wright Tremaine LLP
P 503.778.5325 C 503.701.0023 E joevanleuven@dwt.com
A 560 SW 10th Avenue, Suite 700, Portland, OR 97205
DWT.COM
 Case 1:24-cv-01105-KES-SAB                    Document 52-2     Filed 11/07/24        Page 14 of 15

From: Hurst, David <Dhurst@mwe.com>
Sent: Tuesday, October 29, 2024 1:09 PM
To: VanLeuven, Joe <joevanleuven@DWT.COM>; Nadel, Michael <mnadel@mwe.com>
Cc: Dunn, Joseph <JDunn@cov.com>
Subject: RE: Receiver's counsel fees

I don’t currently have authority to stipulate to the increased fees. Everyone’s focus has been on the
hearings today and tomorrow.

David

DAVID HURST
Partner
McDermott Will & Emery LLP  The Brandywine Building, 1000 N. West Street, Suite 1400, Wilmington, DE 19801
Tel +1 302 485 3930 | Mobile +1 302 824 3454 | Fax +1 302 691 4573 | Email dhurst@mwe.com
Website | vCard | LinkedIn




From: VanLeuven, Joe <joevanleuven@DWT.COM>
Sent: Tuesday, October 29, 2024 2:59 PM
To: Hurst, David <Dhurst@mwe.com>; Nadel, Michael <mnadel@mwe.com>
Cc: Dunn, Joseph <JDunn@cov.com>
Subject: Receiver's counsel fees

[ External Email ]
David,

Do you have authority to stip to increase the ceiling on receiver’s counsel
fees as we’ve been requesting? This is to a point where if you won’t we will
just have to file a motion, increasing costs unnecessarily.

Thanks.

                Joseph VanLeuven    He/Him/His
                Partner | Davis Wright Tremaine LLP
                P 503.778.5325 C 503.701.0023 E joevanleuven@dwt.com
                A 560 SW 10th Avenue, Suite 700, Portland, OR 97205

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